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                                    MANUFACTURERS SETTLEMENT LEGAL NOTICE


Did you suffer symptoms or injuries as a result of exposure to formaldehyde in a
Travel Trailer or Park Model Trailer provided by the United States Government
     and manufactured by one of the below-listed Manufacturers following
                        Hurricanes Katrina or Rita?

              A legal settlement provides payments to people for exposure to
                            and/or injuries from formaldehyde.
                      A court authorized this notice. This is not a solicitation from a lawyer.
        A class settlement has been proposed to resolve hundreds of     Thor California, Inc.; Timberland RV Company, Inc. d/b/a
lawsuits about travel trailers and park model trailers provided to      Adventure Manufacturing; TL Industries, Inc.; Vanguard Industries
people in Alabama, Mississippi, Louisiana, and Texas following          of Michigan, Inc., Vanguard, LLC, Viking Recreational Vehicles,
Hurricanes Katrina and/or Rita. The settlement will pay money to        LLC.
those who claim to have been exposed to formaldehyde in such
trailers.                                                                            WHAT DOES THE SETTLEMENT PROVIDE?

       The United States District Court for the Eastern District of            The settlement with the above manufacturers, in the total
Louisiana, will have a hearing to decide whether to give final          amount of $37,468,574.16, provides money to people who claim to
approval to the settlement so that payments can be made. The people     have suffered symptoms or injuries from exposure to formaldehyde
included in the settlement class may submit Claim Forms to request a    in the Travel Trailers and Park Model Trailers manufactured by the
payment, exclude themselves from the settlement, object to the          Manufacturers listed above. The amount of money will be
settlement, or ask to speak at the hearing. Get a detailed notice by    determined by a Class Benefit Formula approved by the Court, after
calling toll free the number below, or by visiting the website below.   the deduction of fees from the Settlement Funds related to each of
                                                                        these Manufacturers. If you have hired a lawyer to represent you for
                        WHO’S INCLUDED?                                 claims in this litigation, please contact them for further information.
                                                                        The         Settlement           Agreement,         available        at
       If you claim to have suffered symptoms or injuries from          www.femaformaldehydelitigation.com or by calling 1-800-728-1628,
exposure to formaldehyde from a Travel Trailer or Park Model            has the details about the proposed settlement. If you received any
Trailer provided by the federal government following Hurricanes         Medicare or other government health benefits, some or all of these
Katrina and/or Rita, you may be a Class Member. To be a Class           amounts may be deducted from your settlement.
Member, your Travel Trailer
or Park Model Trailer must                                                                 HOW DO YOU ASK FOR A PAYMENT?
have been manufactured by a
Manufacturers listed below.                                                    Call 1-800-728-1628 or go to
The paperwork you received                                              www.femaformaldehydelitigation.com for a Claim Form, then fill it
from the federal government                                             out, sign it, and mail it post -marked by October 12, 2012, to the
should include either the                                                                                    address on the form.
manufacturer of the Travel                                                                                      YOUR OTHER OPTIONS.
Trailer, or the vehicle
identification number, which                                                                                       If you don’t want a
will identify the manufacturer.                                                                             payment from this settlement, and
                                    Manufactured Home
If you claim exposure to                                                      Travel Trailer or Travel      you don’t want to be legally
formaldehyde in a Manufactured Home, and not a Travel Trailer, you                                          bound by it, you must exclude
are not included in the Settlement.                                        Travel Trailer or Park           yourself by August 17, 2012, or
                                                                           Model Trailer                    you won’t be able to sue, or
     WHO IS SUED (WHO ARE THE SETTLING DEFENDANTS)?                                                         continue to sue, the Defendants
        The Settlement includes the following manufacturers of the      about the claims in this case. If you ask to be excluded, you can’t get
travel trailers:                                                        a payment from this settlement. If you stay in the settlement, you
                                                                        may object to it by August 31, 2012. The detailed written notice
      Citair, Inc.; Coachman Industries, Inc., Coachman RV              available on the website below, or by calling the number below,
Licensed Products Division, L.L.C.; Coachmen Recreational Vehicle       explains how to exclude yourself or object.
Company, L.L.C., Coachmen Recreational Vehicles of Georgia,
LLC; Cruiser RV, LLC; Damon Motor Coach; Doubletree RV,                         The Court will hold a hearing in this case, called In Re: FEMA
L.L.C.; DS Corp. d/b/a CrossRoads RV, Inc.; Dutchmen                    Trailer Formaldehyde Product Liability Litigation, No. 2:07-MDL-
Manufacturing, Inc.; Fairmont Homes, Inc., Forest River, Inc., Four     1873, Section “N” (5), on September 27, 2012, to consider whether
Winds International Corporation; Frontier RV, Inc.; Frontier RV         to approve the settlement and a request by the lawyers for fees, costs
Georgia, L.L.C.; Gulf Stream Coach, Inc., Heartland Recreational        and expenses. You will not pay the lawyers representing the Class;
Vehicles, LLC; Homette Corporation; Hy-Line Enterprises, Inc.,          they will be paid from the Total Settlement Fund. If the settlement is
n/k/a FRH, Inc., Jayco, Inc., Jayco Enterprises, Inc.,Keystone RV       approved, the Manufacturers listed above will be released from all
Company; Komfort Corp.; KZRV, LP; Layton Homes Corp.; R-                liability for the claims. The Settlement Agreement explains this
Vision, Inc.; Monaco Coach Corporation, Pilgrim International, Inc.;    fully. You or your own lawyer may ask to appear and speak at the
Play’Mor Trailers, Inc.; Recreation By Design, LLC; Skyline             hearing, at your own cost, but you don’t have to. For more
Corporation, Inc.; Skyline Homes, Inc.; Starcraft RV, Inc., SunRay      information call toll free or visit the website below.
R.V., L.L.C, and SunRay Investments, L.L.C.,; Thor Industries, Inc.;



        www.femaformaldehydelitigation.com                                             1-800-728-1628
